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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                         AMARILLO DIVISION

ALLIANCE FOR HIPPOCRATIC MEDICINE, on                §
behalf of itself, its member organizations, their    §
members, and these members’ patients;                §
AMERICAN ASSOCIATION OF PRO-LIFE                     §
OBSTETRICIANS AND GYNECOLOGISTS, on                  §
behalf of itself, its members, and their patients;   §
                                                     §
AMERICAN COLLEGE OF PEDIATRICIANS,
                                                     §   Case No. 2:22-cv -00223-Z
on behalf of itself, its members, and their
                                                     §
patients; CHRISTIAN MEDICAL & DENTAL                 §
ASSOCIATIONS, on behalf of itself, its members,      §
and their patients; SHAUN JESTER, D.O., on           §
behalf of himself and his patients; REGINA           §
FROST-CLARK, M.D., on behalf of herself and          §
her patients; TYLER JOHNSON, D.O., on behalf         §
of himself and his patients; and GEORGE              §
DELGADO, M.D., on behalf of himself and his          §
patients,                                            §
                                                     §
            Plaintiffs,                              §
                                                     §
v.                                                   §
                                                     §
U.S. FOOD AND DRUG ADMINISTRATION;                   §
ROBERT M. CALIFF, M.D., in his official              §
capacity as Commissioner of Food and Drugs,          §
U.S. Food and Drug Administration; JANET             §
WOODCOCK, M.D., in her official capacity as          §
Principal Deputy Commissioner, U.S. Food and         §
Drug Administration; PATRIZIA CAVAZZONI,             §
                                                     §
M.D., in her official capacity as Director, Center
                                                     §
for Drug Evaluation and Research, U.S. Food and
                                                     §
Drug Administration; U.S. DEPARTMENT OF              §
HEALTH AND HUMAN SERVICES; and                       §
XAVIER BECERRA, in his official capacity as          §
Secretary, U.S. Department of Health and             §
Human Services,                                      §
                                                     §
            Defendants.
                                                     §
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   BRIEF AMICUS CURIAE ON BEHALF OF HUMAN COALTION IN
SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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                        INTEREST OF AMICUS CURIAE1

        Human Coalition is a nonprofit organization committed to rescuing children,

serving families, and making abortion unthinkable and unnecessary by offering

pregnant mothers life-affirming counsel and tangible, needed services. The group

builds holistic, comprehensive-care networks across the United States to reach

pregnant women and provide needed support and care to empower them to choose

life for their children. Human Coalition operates its own specialized women’s care

clinics and virtual clinics in major cities across the country.

        Human Coalition has a strong interest in protecting women and their unborn

children from the dangers of medication abortion. The staff and volunteers at Human

Coalition’s clinics have seen firsthand the physical and mental harms that medication

abortion causes the mothers who enter their facilities. Human Coalition opposes the

FDA’s dangerous and politically-motivated deregulation of medication abortion.

Because of the significant harm that medication abortion has caused and will

continue to cause, Human Coalition further believes that the FDA should have never

approved the medication abortion drug regimen for sale in the United States. Human

Coalition thus files this brief in support of Plaintiffs’ motion for preliminary

injunction.




1 No counsel for any party authored this brief in whole or in part, and no person or
entity, other than amicus and its counsel, made a monetary contribution intended to
fund the preparation or submission of this brief. All parties have consented to the
filing of this brief.
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                                  INTRODUCTION

        Politics should never trump the lives of women and girls. But when the FDA

approved the medication abortion regimen—and later removed basic safeguards to

protect mothers from the harms of a dangerous drug—it chose politics over the health

of women and girls.

        Medication abortion2 is a procedure that involves taking two prescription drugs

to end a pregnancy: mifepristone3 and misoprostol. Together, both drugs are known

as the “abortion pill.” When mifepristone was first approved, it gained approval only

under the restrictive “Risk Evaluation and Mitigation Strategy” (REMS) regulatory

scheme, “a drug safety program that the [FDA] can require for certain medications

with serious safety concerns to help ensure the benefits of the medication outweigh

its risks.”4 REMS require a drug label to include, among other components,

medication safety guides, patient package inserts, and sometimes—such as with

mifepristone—Elements to Assure Safe Use (ETASU).5 One of the most important

features of the mifepristone ETASU was that it required that the drug be dispensed

only in clinics, medical offices, and hospitals by an approved medical provider.6 Thus,


2 Medication abortion is also referred to as a “chemical” or “medical” abortion.
3 The brand name of mifepristone is “Mifeprex.” It has also been referred to as “RU-
486.” Unless otherwise noted, this brief focuses on mifepristone.
4 FDA, Risk Evaluation and Mitigation Strategies, https://www.fda.gov/drugs/drug-

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5 FDA, What’s in a REMS?, https://www.fda.gov/drugs/risk-evaluation-and-

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6 FDA, Questions and Answers on Mifepristone for Medical Termination of

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a woman seeking an abortion had to be seen in-person at a medical facility to receive

the pregnancy-ending medications.

      But even with the REMS restrictions in place, women and girls experienced

severe injury to their physical and mental health as a direct result of medication

abortion. Worse yet, women are often not adequately apprised of the risks of

medication abortion or even what they will experience during their abortions. Women

who are not given complete information about the medication abortion procedure

cannot grant informed consent to it.

      The FDA’s recent removal of the in-person dispensing requirement for

mifepristone will lead to increased harm to women and girls. For years, abortion

activists have pressured the FDA to remove the in-person dispensing requirement to

allow for easy access to this dangerous drug. And in 2021, the FDA caved to that

political pressure, eliminating the in-person safety protocols. Now, “medication

abortion may be administered without a physical exam or ultrasound to confirm the

location and age of the pregnancy, Rhesus antigen (Rh) status testing, or any

interaction with a physician.”7 These important safeguards detect contraindications

and prevent complications, many of which can be life-threatening. Now the entire

abortion process can take place without any physician interaction or oversight.




mifepristone-medical-termination-pregnancy-through-ten-weeks-gestation (last
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7 American Association of Pro-Life Obstetricians and Gynecologists (AAPLOG),

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accessed Feb. 9, 2023).
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Removal of the in-person dispensing requirement will also increase reproductive

coercion and crimes against pregnant women.

          The FDA’s approval of mifepristone and its subsequent removal of the in-

person dispensing requirement for mifepristone has caused—and will continue to

cause—irreparable harm to women and girls. Amicus curiae Human Coalition

requests that this Court grant Plaintiffs’ motion for preliminary injunction.

     I.      Medication abortion has caused—and will continue to cause—
             significant physical harm to women and girls.

             a. Medication abortion causes grave complications, including
                severe infections, life-threatening bleeding, and death.

          Medication abortion physically harms women and girls, even causing death.

According to the FDA, mifepristone caused 28 deaths8 since its approval.9 There are

two primary ways a medication abortion can be fatal. First, an attempted abortion

may result in an incomplete abortion if fetal tissue is left inside the mother. This may

cause her to bleed to death or develop sepsis, a life-threating infection.10 Second, a

medication abortion may cause a ruptured ectopic (tubal) pregnancy because

misoprostol and mifepristone cannot terminate an ectopic pregnancy.11 “An ectopic



8 In contrast, a drug manufacturer recalled blood-pressure medication heparin when
only 4 heparin-related deaths were reported. Janice Hopkins Tanne, Four death
and 350 adverse events lead to US recall of heparin, THE BMJ Vol. 336, No. 7641,
412–13 (Feb. 23, 2008), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2249657/.
9 FDA, Mifepristone U.S. Post-Marketing Adverse Events Summary Through

6/30/2022, https://www.fda.gov/media/164331/download (last accessed Jan 31,
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10 Kathi Aultman, et al., Deaths and Severe Adverse Events after the use of

Mifepristone as an Abortifacient from September 2000 to February 2019, ISSUES IN
LAW & MED. Vol. 36, No.1, 3–26 (2021).
11 Id.


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pregnancy occurs when a fertilized egg grows outside of the uterus,” in most cases

within the fallopian tube.12 “As the pregnancy grows, it can cause the tube to burst

(rupture), which “can cause major internal bleeding” that “can be a life-threatening

emergency that needs immediate surgery.”13 The FDA reported at least 97 cases in

which women with ectopic pregnancies took mifepristone.14

      Along with incomplete abortion and missed ectopic pregnancy, medication

abortion results in other serious complications, most commonly bleeding, infection,

and ongoing pregnancy.15 As of June 2022, 1,048 hospitalizations, 604 blood

transfusions, and 414 infections (including 71 severe infections)—with a total of 4,213

adverse events—were reported.16 But the FDA data is likely incomplete. Despite the

serious risks associated with mifepristone, the FDA only requires deaths to be

reported. Physicians are not required to report other serious adverse events

associated with the drug—reporting any other adverse event is voluntary.17 For this



12 American College of Obstetricians and Gynecologists (ACOG), FAQs: Ectopic
Pregnancy, https://www.acog.org/womens-health/faqs/ectopic-pregnancy (last
accessed Jan. 31, 2023).
13 Id.
14 FDA, Mifepristone U.S. Post-Marketing Adverse Events Summary Through

6/30/2022, https://www.fda.gov/media/164331/download.
15 FDA, Highlights of Prescribing Information: Mifeprex (mifepristone) Tablets, 200

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(last accessed Jan. 31, 2023); see also AAPLOG, Dangers of Relaxed Restrictions on
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16 FDA, Mifepristone U.S. Post-Marketing Adverse Events Summary Through

6/30/2022, https://www.fda.gov/media/164331/download.
17 FDA, Mifeprex clinical review at 48–49,

https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020MedR.p
df (last accessed Jan. 31, 2023); Tessa Longbons, Analysis: FDA Decision Ignores
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reason, the rate of severe complications and deaths from medication abortion is likely

higher than the FDA data suggests.

      The lack of mandatory reporting for adverse events other than death means

that even serious complications are not reported. First, the abortion provider may not

be the same one treating a woman’s medication abortion complications. One study

suggests clinicians other than the abortion provider often manage her emergency

complications.18 For this reason, treating providers may not know about the

relationship between the adverse event and mifepristone. In the same vein, the

abortion provider may be unaware that their patient suffered an adverse event.

Second, medical professionals may be unable to trace every deadly infection back to

the use of these drugs, as there are potential intervening causes (such as medical

malpractice, issues with misoprostol rather than mifepristone, and more). And

finally, a physician may fail to report serious complications simply because they are

not required to do so.

      One recent study affirms mifepristone causes more complications than the

incomplete FDA data suggests. It found the rate of abortion-related emergency room

visits following medication abortion increased over 500% from 2002 through 2015.19



2021), https://lozierinstitute.org/analysis-fda-decision-ignores-data-on-
complications-puts-women-at-risk/ (last accessed Jan. 31, 2023).
18 Kathi Aultman, et al., supra note 10 (Concluding that only 39.75% of follow-up

D&C procedures after a failed medication abortion are done by abortion providers).
19 James Studnicki, et al., A Longitudinal Cohort Study of Emergency Room

Utilization Following Mifepristone Chemical and Surgical Abortions, 1999–2015,
HEALTH SERVICES RESEARCH AND MANAGERIAL EPIDEMIOLOGY (Nov. 9, 2021),
https://journals.sagepub.com/doi/full/10.1177/23333928211053965 (last accessed
Feb. 8, 2023).
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      The study also discovered that 60.9% of these emergency room visits were

miscoded as spontaneous miscarriages instead of accurately reported as medication

abortion complications.20 When compared to data for surgical abortion, women who

underwent chemical abortion were at a 53% greater risk of visiting the emergency

room for an abortion-related reason.21

      Data from other countries support these conclusions. In a study from the

United Kingdom looking at 4,132 medication abortions between 1994 and 2001,

approximately 1% of women were hospitalized.22 Another study from Finland showed

that medication abortion leads to more complications than surgical abortion.23 That

study found adverse events in women who underwent medication abortion were

nearly four times higher (20% vs. 5.6%) than women who a surgical abortion.24

Women in the study experienced a significantly higher rate of hemorrhage with

medication abortion (15.6%, compared to 2.1% for surgical abortion), higher rates of

incomplete abortion (6.7% vs. 1.6%), as well as unplanned surgical evacuation (5.9%

vs. 1.8%).25 And recent research from Canada further suggests that medication




20 Studnicki, et al., supra note 19.
21 Id.
22 AAPLOG, Dangers of Relaxed Restrictions on Mifepristone, supra note 7 at 5,

(citing Premila W. Ashok, et al., Factors affecting the outcome of early medical
abortion: a review of 4132 consecutive cases, BRITISH J. OBSTETRICS & GYNECOLOGY
VOL. 109, No. 11, 1281–89 (2002)).
23 Maarit Niinimäki, et al., Immediate complications after medical compared with

surgical termination of pregnancy, OBSTETRICS & GYNECOLOGY Vol. 114, No. 4, 795–
804 (2009), https://pubmed.ncbi.nlm.nih.gov/19888037/ (last accessed Feb. 1, 2023).
24 Id.
25 Id.


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abortion in the first trimester leads to more adverse events than surgical abortion

during the same timeframe.26

      Since the FDA approved mifepristone, medication abortions exponentially

increased over the years along with significant physical harms to women and girls.

These complications will only be compounded by the FDA’s removal of in-person

dispensing safeguards.

          b. Eliminating the in-person dispensing requirement for
             mifepristone will lead to even more physical harm to women
             and girls.
      Now that the FDA eliminated the precaution that women see a physician in-

person to obtain a medication abortion, it can be administered without a physical

exam, diagnostic ultrasound, blood tests, or any interaction with the abortion

provider. The entire abortion process can take place within a woman’s home, without

any physician oversight. This will lead to increases in undetected ectopic pregnancies,

failure to detect rH factor incompatibility, and misdiagnosis of gestational age, all of

which can lead to severe—and even fatal—complications.

      Failure to diagnose an ectopic pregnancy can result in life-threatening

complications for a woman undergoing medication abortion. As noted in Section II.a,

failure to detect an ectopic pregnancy before medication abortion can result in the

rupture of a woman’s fallopian tube, leading to hemorrhage and sometimes death.

The rupture of a tubal pregnancy due to mifepristone can be avoided by simply


26Ning Liu, Ph.D and Joel G. Ray, MD, MSc, Short-Term Adverse Outcomes After
Mifepristone–Misoprostol Versus Procedural Induced Abortion, ANNALS OF INTERNAL
MEDICINE (Jan. 3, 2023), https://www.acpjournals.org/doi/10.7326/M22-2568 (last
accessed Feb. 1, 2023).
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providing an ultrasound before the procedure. But the FDA’s elimination of the in-

person dispensing requirement means that a woman may not even be offered an

ultrasound before a medication abortion.

      Failure to test the mother’s rH factor before medication abortion can lead to

grievous complications. “The Rh factor is a protein that can be found on the surface

of red bloods cells,” and its presence indicates that someone is Rh positive—its

absence, Rh negative.27 During pregnancy, complications can result if the mother is

Rh negative and her unborn child is Rh positive. This is because “[w]hen the blood of

an Rh-positive fetus gets into the bloodstream of an Rh-negative woman, her body

will recognize that the Rh-positive blood is not hers,” and “[h]er body will try to

destroy it by making anti-Rh antibodies.”28 “These antibodies can cross the placenta

and attack the fetus's blood cells,” which “can lead to serious health problems, even

death, for a fetus or a newborn.”29 A simple blood test performed during pregnancy

can determine whether a woman is Rh-negative, and the medication can be

administered to prevent antibodies from forming.30 ACOG recommends that this

medication be given to Rh-negative women before a medication abortion.31 ACOG



27 ACOG, The Rh Factor: How It Can Affect Your Pregnancy,
https://www.acog.org/womens-health/faqs/the-rh-factor-how-it-can-affect-your-
pregnancy (last accessed Jan. 17, 2023).
28 Id.
29 Id.
30 AAPLOG, Dangers of Relaxed Restrictions on Mifepristone, supra note 7 at 7,

(citing ACOG, Practice Bulletin No. 181: Prevention of Rh D Alloimmunization,
OBSTETRICS & GYNECOLOGY Vol. 130, No. 2, e57–e70 (2017)).
31 Id. (citing ACOG, Practice Bulletin No. 181: Prevention of Rh D

Alloimmunization, OBSTETRICS & GYNECOLOGY Vol. 130, No. 2, e57–e70 (2017)).


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further notes that Rh testing and treatment (if needed) is the standard of care.32 But

eliminating the in-person dispensing requirement means this test may never happen.

       If a woman does not receive an ultrasound before a medication abortion, the

gestational age of the child might not be known, which can lead to serious

complications. Higher gestational age means a higher failure rate of medication

abortion and increased interventions and risks for the woman. The failure rate for

medication abortion at 10 weeks is nearly 7%.33 And in the second trimester, the

failure rate reaches 40%.34 While it is possible to guess the gestational age based on

a woman’s menstrual cycle, as many as 40% of women are redated with the use of

ultrasound in the first trimester.35 Without the requirement of an in-person visit

before medication abortion, an ultrasound might not be administered to determine

whether gestational age is too late for medication abortion.

       Elimination of the in-person dispensing requirement dangerously isolates

women from preventative testing and medical oversight. The results may be deadly.




(citing ACOG, Practice Bulletin No. 181: Prevention of Rh D Alloimmunization,
OBSTETRICS & GYNECOLOGY Vol. 130, No. 2, e57–e70 (2017)).
32 AAPLOG, Dangers of Relaxed Restrictions on Mifepristone, supra note 7 at 7,

(citing ACOG, Practice Bulletin No. 181: Prevention of Rh D Alloimmunization,
OBSTETRICS & GYNECOLOGY Vol. 130, No. 2, e57–e70 (2017)).
33 Id. (citing Melissa J. Chen and Mitchell D. Creinin, Mifepristone With Buccal

Misoprostol for Medical Abortion: A Systematic Review, OBSTETRICS & GYNECOLOGY
Vol. 126, No. 1, 12–21 (2015)).
34 Id. (citing Maarit J. Mentula, et al., Immediate adverse events after second

trimester medical termination of pregnancy: results of a nationwide registry study,
HUMAN REPRODUCTION Vol. 26, No. 4, 927–32 (2011)).
35 Id. (citing Kelly A. Bennett, et al., First trimester ultrasound screening is effective

in reducing postterm labor induction rates: a randomized controlled trial, AM. J.
OBSTETRICS & GYNECOLOGY Vol. 190, No. 2, 1077–81 (2004)).
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          c. Human Coalition’s clients are consistently misinformed about
             risks associated with medication abortion and therefore are
             unable to provide informed consent to mifepristone.
      The FDA’s diminished protocols leave women in the dark about their abortions.

Despite the risk of serious harm, abortion providers often give insufficient, limited,

or misleading information to women seeking medication abortion.36 In one study, 14%

of women reported being inadequately prepared about what to expect during their

medication abortion and many felt openly deceived.37 In their own words, women

wished they had more information about side effects, the intensity of cramping and

bleeding, what to do after passing the baby, and potential negative emotions like fear,

uncertainty, sadness, regret and pain.38

      Unfortunately, these experiences are pervasive among women obtaining a

medication abortion. Human Coalition served approximately 45,000 pregnant women

last year. Women who visit Human Coalition’s care clinics and call their help line

consistently report they were not provided adequate information about their

medication abortion. Many are not even informed about the medication abortion

process—they may not know that they will see the remains of their child and can

experience significant pain and bleeding. Abortion providers also consistently fail to

inform clients when to seek help if a complication arises.



36 Katherine A. Rafferty & Tessa Longbons, #AbortionChangesYou: A Case Study to
Understand the Communicative Tensions in Women’s Medication Abortion
Narratives, HEALTH COMM. Vol. 36, No. 12, 1485–94 (2021),
https://www.tandfonline.com/doi/full/10.1080/10410236.2020.1770507 (last accessed
Feb. 8, 2023).
37 Id.
38 Id.


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      In the practice of medicine, informed consent is “fundamental in both ethics

and law.”39 “Patients have the right to receive information and ask questions about

recommended treatments so that they can make well-considered decisions about

care.”40 According to the American Medical Association, “[t]he process of informed

consent occurs when communication between a patient and physician results in the

patient’s authorization or agreement to undergo a specific medical intervention.”41 In

seeking informed consent, a physician should:

                (a) Assess the patient’s ability to understand relevant
                    medical information and the implications of
                    treatment alternatives and to make an independent,
                    voluntary decision.

                (b) Present relevant information accurately and
                    sensitively, in keeping with the patient’s preferences
                    for receiving medical information. The physician
                    should include information about: (i) the diagnosis
                    (when known); (ii) the nature and purpose of
                    recommended interventions; (iii) the burdens, risks,
                    and expected benefits of all options, including
                    forgoing treatment...42

Under this definition, when patients are not provided accurate medical information

about what they will experience, side effects, or even risks associated with

mifepristone, they cannot provide informed consent to medication abortion.




39 American Medical Association Code of Medical Ethics, Opinion 2.1.1: Informed
Consent, https://code-medical-ethics.ama-assn.org/ethics-opinions/informed-consent
(last accessed Feb. 1, 2023).
40 Id.
41 Id.
42 Id.


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         Human Coalition’s clinic staff often serve women who were not provided

accurate information about medication abortion and its risks. They see firsthand how

women become living victims of this failure. Abortion providers are reported to

minimize concerns or side effects and focus on the positive—“easy process,” “quick

recovery,” “like taking over the counter meds,” and “no one will know”. Or—as one

study found—material misrepresentations: “it’s just a pill” and “if you by chance are

in pain.”43 Some Human Coalition clients who were prescribed medication abortion

expressed they were told by the abortion provider that “it is as easy as taking Advil.”

Many clients report that they were not told about seeing fetal remains. Staff are told

such things as: “I had no idea that the pill was going to be as painful as it was.” “I

bled way more than I was told. The whole procedure was more painful than I was led

to believe.” “I saw the baby come out in the toilet . . . It was very traumatic. And no

one told me I would see a baby. I didn’t know what to do . . . It felt wrong to flush the

baby down the toilet.” Women call Human Coalition nurses panicking in the middle

of their abortions. The nurses support them over the phone, so they are not alone.

         Abortion providers do not always return patients’ calls, even after

complications arise. Human Coalition has served many women whose medication

abortions failed and found themselves still pregnant. Four clients were unknowingly

ectopic when they arrived at Human Coalition with abortion pills in hand. Human

Coalition sonographers provided potentially life-saving ultrasounds. This is not what

informed consent looks like. And this is not what proper medical care looks like.



43   Rafferty & Longbons, supra note 36.
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           Without informed consent, mothers may not know about the physiological

symptoms that will occur during medication abortion. And they may not know about

the side effects and risks of taking the medication. They may not even know what

symptoms to look for to determine whether a serious complication is occurring—with

life-threatening consequences. And now that the FDA has removed the in-person

dispensing requirement for mifepristone, these patients may never see the abortion

provider. Because the FDA has also failed to maintain accurate data on adverse

events caused by mifepristone, see Section I.a, the elimination of the in-person

dispensing requirement will lead to an increase in complications and serious medical

harm to women. Human Coalition clients are already experiencing increased

complications. Women deserve accurate and complete information, not material

omissions or mistruths. Without it, it is impossible for them to give informed consent.

     II.      Abortion psychologically damages women and girls.

           Abortion—whether it be by medication or surgery—causes significant mental

health problems in women and girls, increasing the risk of depression, anxiety,

substance abuse, and suicide. Mothers who choose abortion often experience grief,

sadness, and feelings of loss.44 The data and stories of post-abortive women shows

that medication abortion inflicts unique psychological pain on mothers.



44 David C. Reardon, The abortion and mental health controversy: A comprehensive
literature review of common ground agreements, disagreements, actionable
recommendations, and research opportunities, SAGE OPEN MED. (2018),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6207970/ (last accessed Feb. 1,
2023) (citing Brenda Major, et al. Report of the APA Task Force on mental health
and abortion, American Psychological Association, at 105 (2008),
http://www.apa.org/pi/women/programs/abortion/mental-health.pdf).
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           a. Women who have an abortion of any kind experience a higher
              rate of mental health disorders compared to women who carry
              their pregnancies to term.

      Abortion can seriously harm a woman’s mental health. Research indicates that

women face an 81% increase in risk of mental health disorders after receiving an

abortion.45 These women also face a 34% increased risk of anxiety, 37% increased risk

of depression, and 155% increased risk of suicidal behavior.46 “[M]ost social and

medical science scholars [agree] that a minimum of 20% to 30% of women who abort

suffer from serious, prolonged negative psychological consequences, yielding at least

260,000 new cases of mental health problems each year.”47 Many studies also indicate

“abortion significantly increases [the] risk” that a woman will engage in substance

abuse.48


45 AAPLOG, Committee Opinion 6: Induced Abortion & the Increased Risk of
Maternal Mortality at 8, https://aaplog.org/wp-content/uploads/2020/01/FINAL-CO-
6-Induced-Abortion-Increased-Risks-of-Maternal-Mortality.pdf (last accessed Feb. 1,
2023) (citing Priscilla K. Coleman, Abortion and mental health: quantitative
synthesis and analysis of research published 1995–2009, BRITISH J. PSYCHIATRY Vol.
199, No. 3, 180–86 (Sept. 2011), https://pubmed.ncbi.nlm.nih.gov/21881096/).
46 Id. (citing Priscilla K. Coleman, Abortion and mental health: quantitative

synthesis and analysis of research published 1995–2009, BRITISH J. PSYCHIATRY Vol.
199, No. 3, 180–86 (Sept. 2011), https://pubmed.ncbi.nlm.nih.gov/21881096/).
47 AAPLOG, Practice Bulletin: Abortion and Mental Health at 6,

https://aaplog.org/wp-content/uploads/2019/12/FINAL-Abortion-Mental-Health-
PB7.pdf (last accessed Feb. 1, 2023) (citing Brenda Major & Catherine Cozzarelli,
Psychological predictors of adjustment to abortion, J. OF SOCIAL ISSUES Vol. 48, 121–
142 (1992), https://spssi.onlinelibrary.wiley.com/doi/abs/10.1111/j.1540-
4560.1992.tb00900.x; and G. Zolese & C.V. Blacker, The psychological complications
of therapeutic abortion, BRITISH J. PSYCHIATRY Vol. 160, 742–49 (June 1992),
https://pubmed.ncbi.nlm.nih.gov/1617354/).
48 Id. at 6 (citing Priscilla K. Coleman, Resolution of unwanted pregnancy during

adolescence through abortion versus childbirth: Individual and family predictors
and psychological consequences, J. YOUTH ADOLESCENCE Vol. 35, 903–11 (2006),
https://link.springer.com/article/10.1007%2Fs10964-006-9094-x; Daniel I. Rees and


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      Abortion places women at risk of suffering post-traumatic stress disorder.

PTSD “is a psychiatric disorder” often seen in “people who have experienced or

witnessed a traumatic event, series of events or set of circumstances.”49 Women and

girls who suffer from this disorder experience “intense, disturbing thoughts and

feelings related to their experience that last long after the traumatic event has

ended.”50 And research has shown that “women who disagree[] with their partners

concerning the decision to abort were more likely to report symptoms of intrusion and

to meet the diagnostic criteria for PTSD.”51 Not surprisingly, then, women who think

their pre-abortion counseling was inadequate are “more likely to report relationship

problems, symptoms of intrusion, avoidance, and hyperarousal and to meet

diagnostic criteria for” PTSD. 52




Joseph J. Sabia, The relationship between abortion and depression: New evidence
from the Fragile Families and Child Wellbeing Study, MED. SCI. MONITOR Vol. 13,
No. 10, CR430–36 (Oct. 2007) https://pubmed.ncbi.nlm.nih.gov/17901849/; Willy
Pedersen, Childbirth, Abortion and subsequent substance use in young women: a
population-based longitudinal study, ADDICTION Vol. 102, No. 12, 1971–78 (2007),
https://pubmed.ncbi.nlm.nih.gov/18031432/; and David C. Reardon, et al., Substance
use associated with prior history of abortion and unintended birth: A national cross
sectional cohort study, AM. J. OF DRUG AND ALCOHOL ABUSE Vol. 30, No. 2, 369–83
(May 2004), https://pubmed.ncbi.nlm.nih.gov/15230081/).
49 American Psychiatric Association, What Is Posttraumatic Stress Disorder?,

https://www.psychiatry.org/patients-families/ptsd/what-is-ptsd (last accessed Feb. 1,
2023).
50 Id.
51 AAPLOG, Practice Bulletin: Abortion and Mental Health, supra note 47 at 6,

(citing C. T. Coyle, et al., Inadequate pre-abortion counseling and decision conflict as
predictors of subsequent relationship difficulties and psychological stress in men and
women, TRAUMATOLOGY Vol. 16, No. 1, 16–30 (2010),
https://doi.org/10.1177/1534765609347550).
52 Id.


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      For some women who have abortions, their mental suffering leads to a far

greater risk of suicide. Medical research shows that U.S. women face nearly double

the risk for suicide compared to women who carry their pregnancies to term. In one

study of 173,279 low-income women in California, researchers “found that women

who underwent abortions had nearly double the chance of dying in the following two

years, and ‘had a 154 percent higher risk of death from suicide’ than if they gave

birth.”53 This study concluded that “[h]igher death rates associated with abortion

persist over time and across socioeconomic boundaries,” which “may be explained by

self-destructive tendencies, depression, and other unhealthy behavior aggravated by

the abortion experience.”54

      Foreign studies show an even bleaker picture. When Italian researchers

studied suicide rates “during pregnancy or within 1 year after giving birth,” they

“concluded that—of the maternal suicides [studied]—the suicide rate of women who

underwent an abortion “was more than double the suicide rate of women who gave




53 Hannah Howard, New Study: Elevated Suicide Rates Among Mothers after
Abortion, CHARLOTTE LOZIER INSTITUTE (Sept. 10, 2019),
https://lozierinstitute.org/new-study-elevated-suicide-rates-among-mothers-after-
abortion/ (last accessed Feb. 1, 2023) (citing Elliot Institute, New Study Shows
Abortion Death Rate Higher Than Previously Known (July-September 2002),
https://afterabortion.org/new-study-shows-abortion-death-rate-higher-than-
previously-known/); see also David C. Reardon et al., Deaths associated with
pregnancy outcome: a record linkage study of low income women, SOUTHERN MED. J.
Vol. 95, No. 8, 834–41 (Aug. 2002), https://pubmed.ncbi.nlm.nih.gov/12190217/ (last
accessed Feb. 1, 2023).
54 David C. Reardon et al., Deaths associated with pregnancy outcome: a record

linkage study of low income women, SOUTHERN MED. J. Vol. 95, No. 8, 834–41 (Aug.
2002).
                                        17
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birth.”55 In a similar study, Finnish researchers found that within one year of an

abortion, “women were three times more likely to commit suicide than the general

population, and nearly six times more likely to [do so] than women who gave birth,”

while most of these deaths occur in the first two months.56

          b. Medication abortion inflicts unique psychological harm on
             women and girls.

      Medication abortion plagues the mental health of mothers undergoing the

procedure. Although many studies outline the psychological consequences of

underdoing an abortion generally, there are few studies that speak to the

psychological effects unique to medication abortion. One study examined the effects

of medication abortion on women and showed that: 83% of women reported that their

medication abortion changed them (77% reported being changed in a negative way);

77% explicitly stated that they regretted their decision; and 38% reported issues with

anxiety, depression, drug abuse, and suicidal thoughts because of the abortion.57

      The physical experience of medication abortion can be traumatizing. During

medication abortion, women often experience severe cramping, contractions, and

bleeding. The entire process can be a psychologically taxing ordeal, as bleeding can




55 Hannah Howard, supra note 53 (citing Ilaria Lega, et al., Maternal suicide in
Italy, ARCHIVES OF WOMEN’S MENTAL HEALTH 23, 199–206 (2020)
https://doi.org/10.1007/s00737-019-00977-1) (emphasis added).
56 Id. (citing M. Gissler, et al., Suicides after pregnancy in Finland, 1987-94. register

linkage study, THE BMJ Vol. 313, 1431–34 (Dec. 1996)
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2352979/pdf/bmj00571-0021.pdf)
(emphasis added).
57 Rafferty & Longbons, supra note 36.


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last from several hours to several weeks.58 In a space where there are few scientific

studies, most sources on the psychological harm of medication abortion discuss the

various responses of traumatized women and their account of the psychologically

taxing event.59 For example, one woman described her experience:

             I knew to expect blood clotting, but nothing could’ve
             prepared me for seeing her body. It was the color of my own
             skin and was actually starting to look like a person…I
             thought maybe after the due date I would feel better, but it
             doesn’t end there. It never ends! The pain and emptiness
             stays there forever. 60
Another source gathered more in-depth responses from women stating:

                “‘I looked down and screamed,’ she said. ‘It was not just
                 a blob of tissue. I had given birth to what looked like a
                 fully formed, intact 14-week-old fetus covered in blood.’
                 The court document says she ‘endured eight years of
                 alcoholism, divorce, suicidal thoughts, rage-filled
                 outbursts and debilitating depression.’”61

                “Another woman . . . said, ‘There was so much pain and
                 blood I thought I might die’ before she passed a
                 gestational sac about the size of a tennis ball in which

58 Women on Web, When will you start bleeding and how long will it last?,
https://www.womenonweb.org/en/page/484/when-will-you-start-bleeding-and-how-
long-will-it-last (last accessed Feb. 1, 2023).
59 Newsweek Staff, Blood and Tears, NEWSWEEK (September 17, 1995),

https://www.newsweek.com/blood-and-tears-183058 (An account of the entire
medication abortion process with testimony such as, “The following Sunday—nine
days after the misoprostol—she is taking a shower when she suddenly expels the
pregnancy sac. It doesn't go down the drain. She scoops it up, wraps it carefully in
toilet paper and flushes it away. ‘It really emotionally hit me,’ she says later.”).
60 Kim Hayes, “The Pain and Emptiness Stay There Forever”- #Abortionchangesyou

Study Looks at Personal Chemical Abortion Experiences, PREGNANCY HELP NEWS
(July 22, 2020), https://pregnancyhelpnews.com/the-pain-and-emptiness-stay-there-
forever-abortionchangesyou-study-looks-at-personal-chemical-abortion-experiences.
61 Celeste McGovern, Study Confirms Women’s Testimonies About Abortion Pill’s

Link to Depression, Anxiety, NAT’L CATHOLIC REG. (July 30, 2019),
https://www.ncregister.com/daily-news/study-confirms-womens-testimonies-about-
abortion-pills-link-to-depression-a (last accessed Feb. 6, 2023).
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                 she could see her baby. ‘I sat and held him and cried.’
                 She later suffered from anorexia, abusive relationships
                 and post-traumatic stress disorder, which a counselor
                 traced directly to her abortion[.]”62

                “‘I feel like I lost a part of my soul with that baby,’
                 another woman . . . said. “The [abortion] pill is so easy
                 it doesn’t give the mother time to truly reflect on what
                 her actions will be doing and the lifelong consequences
                 it can cause,” she testified to the court. ‘To me, it seems
                 a very easy way for the business to make a quick buck
                 by feeding on the fear of the scared and naive mother,
                 who will be the one that is forced to live with the
                 consequences, while the business profits and moves on
                 to the next mother.’”63

      Unlike surgical abortions, a mother sees the remains of her aborted child.

These factors add to the psychological pain that is unique to medication abortion.64

To compound this pain, women are often alone when they experience the effects of

the medication abortion. The FDA further isolates women from in-person physician

interaction—a relationship already tenuously attended to in the abortion industry.




62 Celeste McGovern, Study Confirms Women’s Testimonies About Abortion Pill’s
Link to Depression, Anxiety, supra note 61.
63 Id.
64 Pauline Slade, et al., Termination of pregnancy: Patient’s perception of care, J. OF

FAMILY PLANNING & REPRODUCTIVE HEALTH CARE Vol. 27, No. 2, 72–77 (2001),
https://srh.bmj.com/content/familyplanning/27/2/72.full.pdf (“Seeing the foetus, in
general, appears to be a difficult aspect of the medical termination process which
can be distressing, bring home the reality of the event and may influence later
emotional adaptation”); Pauline Slade, et al., A comparison of medical and surgical
termination of pregnancy: choice, emotional impact and satisfaction with care,
BRITISH J. OBSTETRICS & GYNAECOLOGY Vol. 105 ,No. 12, 1288–95 (Dec. 1998),
https://pubmed.ncbi.nlm.nih.gov/9883920/ (“Those having the medical procedure
rated it as marginally more stressful and experienced more post-termination
physical problems and disruption to life. Seeing the fetus was associated with more
intrusive events (nightmares, flashbacks, unwanted thoughts related to the
experience).”).
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           c. Women’s stories demonstrate the deep, negative psychological
              impact that medication abortion can have on mothers.

        Amicus Human Coalition runs the website “The Abortion Memorial,” where

individuals can post their abortion experiences. Many of these stories detail the

psychological harm that mothers suffer following medication abortion. Many mothers

give their child a name, write directly to them and express regret at never meeting

them.

        One mother, who posted anonymously and writing to the child she had named

“Zion,” describes her medication abortion experience and the trauma she has endured

since her abortion in 2013:

              My little Zion, If I were to write a letter to you it would
              sound more like an apology. 7 weeks of bad nausea and
              headaches, it would’ve all been worth it for you. I was only
              13 when I got pregnant with you and I couldn’t dare bring
              you into this world unprepared to give you what you
              deserved. I still have nightmares & flashbacks of the day I
              took those second set of pills, crying and screaming on the
              toilet while your grandma rubbed my back. It’s been 5
              years now and it’s still very hard to bear the image of you
              dying and still shaming myself for never thinking of you.
              I’m so sorry my sweet Zion. I love you so much.65

        Another woman, writing to the child she named “Gabriel,” writes of

immediately regretting her decision and seeking to undo the harmful effects of

mifepristone:

              Gabriel, I agonized over this decision for such a long time.
              When I finally took that evil pill, I knew I had made a
              mistake. I called the abortion reversal line and took a huge
              dose of progesterone to counter it but it didn’t save you. I
              miss you so much my baby boy. I wish I could take back

65Zion, The Abortion Memorial, https://abortionmemorial.com/zion/ (last accessed
Feb. 1, 2023) (cleaned up).
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              that day and hold you in my arms. It hurts me deeper than
              you can imagine. . . I’m so sorry, Gabriel. Mommy will love
              you forever.66

And a young mother wrote of the deep regret she felt after her medication abortion:

              I was 22 years old, already a mother of a 2 year old that
              had to be raised in a broken home. I was engaged to my
              now husband when I found out I was expecting. I cried
              because it wasn’t suppose to happen . . . I was scared to
              have to tell my parents that here I was pregnant out of
              wedlock with my second baby from a different relationship.
              I was scared of my father’s reaction to this the most. I
              quickly looked into Planned Parenthood about having an
              abortion. I was early enough to have the abortion pill
              because if I were further along I would have not gone
              through the other type of abortion . . . I regret that decision
              every single day. . .67

        The psychological toll that medication abortion takes on mothers is

devastating. The FDA has a duty to consider these harms rather than turn a blind

eye towards the women suffering them.

     III.   Unfettered access to mifepristone will likely increase
            reproductive coercion and crimes against pregnant women and
            girls.
        Increased access to medication abortion will also likely lead to increases in

reproductive coercion and crimes against women. Without the in-person requirement,

anyone can obtain the abortion pills for a woman, even someone who seeks to cause

her harm by coercing—or even forcing—her to have an abortion.



66 I miss you, and regret my decision, The Abortion Memorial,
https://abortionmemorial.com/i-miss-you-and-regret-my-decision/ (last accessed Feb.
1, 2023).
67 I was scared to be a shame to my parents, The Abortion Memorial,

https://abortionmemorial.com/i-was-scared-to-be-a-shame-to-my-parents/ (last
accessed Feb. 1, 2023).
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      Abortion is often used as a tool in human trafficking. And easy access to

medication abortion increases the availability of these pills to predators. Intimate

partner violence is of particular concern in the population of women seeking

abortions, who are at increased risk for reproductive coercion.68 This is particularly

true for women and girls who are victims of sex-trafficking.69 In a study examining

reproductive harm in survivors of sex trafficking, 55.2% of the 67 survivors examined

for the study reported at least 1 abortion—29.9% reported multiple abortions.70 Over

the 67 survivors participating in the study, 114 abortions were reported.71 This study

noted the disturbing prevalence of forced abortions in victims of sex trafficking: “Prior

research noted that forced abortions were a reality for many victims of sex trafficking

outside the United States and at least one study noted forced abortions in domestic

trafficking.”72 “The survivors in this study similarly reported that they often did not

freely choose the abortions they had while being trafficked.”73 “More than half

(eighteen) of [the responsive] group indicated that one or more of their abortions was




68 AAPLOG, Dangers of Relaxed Restrictions on Mifepristone, supra note 7 at 10
(citing Elizabeth Miller, et al., Reproductive coercion: connecting the dots between
partner violence and unintended pregnancy, CONTRACEPTION Vol. 81, No. 6, 457–59
(June 2010); ACOG, Committee opinion no. 554: reproductive and sexual coercion,
OBSTETRICS & GYNECOLOGY Vol. 121, No. 2 Pt. 1, 411–15 (2013)).
69 Laura J. Lederer & Christopher A. Wetzel, The Health Consequences of Sex

Trafficking and Their Implications for Identifying Victims in Healthcare Facilities,
23 ANNALS HEALTH L. 61 (2014),
https://lawecommons.luc.edu/cgi/viewcontent.cgi?article=1410&context=annals.
70 Id. at 73.
71 Id.
72 Id.
73 Id.


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at least partly forced upon them.”74 One woman reported having 17 total abortions

and noted that some were forced upon her.75          Medication abortion enables sex

traffickers to continue perpetuating their crimes against women, ensuring their

victims continue to work. The FDA eliminated one of the few intervention

opportunities a human trafficking victim has—meeting a physician face to face.

      A second criminal concern unique to medication abortion is the prevalence of

male sexual partners who use abortion-causing medications (either mifepristone or

misoprostol) to kill their unborn children covertly. There have been several reports

over the years of men who purchase abortion drugs illegally and then place them in

the mother's drink or secretly insert it inside her vagina without her consent.76

Recently, a man in Texas was charged with felony assault after allegedly placing

abortion drugs in his pregnant wife’s glass of water.77

      The in-person dispensing requirements served an important gatekeeping

function to ensure abortion pill recipients voluntarily receive medication abortion

themselves. Now the FDA has made it much easier for abusers and criminals to

access abortion-causing drugs and continue perpetuating their crimes, including




74 Lederer & Wetzel, The Health Consequences of Sex Trafficking and Their
Implications for Identifying Victims in Healthcare Facilities, supra note 69 at 73.
75 Id. at 73–74.
76 CWALAC Staff, Drug Like RU-486 May Be Approved as Morning-After Pill,

CONCERNED WOMEN OF AMERICA LEGISLATIVE ACTION COMMITTEE (June 25, 2010),
https://concernedwomen.org/drug-like-ru-486-may-be-approved-as-morning-after-
pill/ (last accessed Feb. 1, 2023) (listing criminal incidents involving abortion drugs)
77 Emma Colton, Texas lawyer charged after allegedly drugging pregnant wife with

abortion pill, FOX NEWS (Nov. 16, 2022), https://www.foxnews.com/us/texas-lawyer-
charged-allegedly-drugging-pregnant-wife-abortion-pill (last accessed Feb. 1, 2023).
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forced abortions. The FDA negligently places these women in harm’s way without

properly vetting intended and unintended consequences of medication abortion.

                                   CONCLUSION

      Decades of medication abortion marred women and girls into living victims of

abortion. It caused severe damage to their physical and mental health, including

death. These grievous lessons were learned as the FDA failed to fulfill its duty under

the law to ensure basic safety measures for women. And now that the FDA has caved

to political pressure and removed any semblance of safety protocols for medication

abortion, women and girls unknowingly face even greater physical and mental risks.

The FDA will survive this catastrophe but unfortunately the living victims of

medication abortion may not. The FDA callously dismisses women’s real experiences

and traumas, wielding its incomplete data as a shield. But Human Coalition believes

their voices matter. Women and children in the womb deserve better. Amicus Human

Coalition accordingly requests that this Court grant Plaintiffs’ motion for preliminary

injunction.

      Respectfully submitted,

                                               /s/ Elissa M. Graves
                                               Elissa M. Graves
                                               Texas Bar No. 24090135
                                               The Law Office of Elissa Graves
                                               1907 Bonanza Dr.
                                               Sachse, TX 75048
                                               (214) 733-3213
                                               elissamgraves@gmail.com

                                               Attorney for amicus curiae Human
                                               Coalition



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                         CERTIFICATE OF SERVICE

      I hereby certify that on February 10, 2023, this document was electronically

filed and served via the Court’s CM/ECF system.



                                            /s/ Elissa M. Graves




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